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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   FT. MYERS DIVISION

 DONIA GOINES,

           Plaintiff,

 v.                                                           Case No.: 2:17-CV-00656-JES-CM

 LEE MEMORIAL HEALTH SYSTEM
 d/b/a CAPE CORAL HOSPITAL;
 and JEOVANNI HECHAVARRIA, R.N.,

           Defendants.
                                                       /

                         DEFENDANT LEE HEALTH’S MOTION
                FOR AN EVIDENTIARY HEARING, MEMORANDUM OF LAW,
                          AND CERTIFICATE OF GOOD FAITH

           Defendant Lee Memorial Health System d/b/a Cape Coral Hospital (hereinafter

 “Defendant Lee Health”), by and through its undersigned attorneys, hereby moves the Court for

 an order scheduling an evidentiary hearing in this matter to address the issue of spoliation of

 evidence by Plaintiff and her attorneys. In support of this Motion, Defendant Lee Health states:

      I.      FACTUAL BACKGROUND

           As this Court is aware, Plaintiff claims that on the evening of July 17, 2016, Defendant

 Hechavarria, then an employee of Defendant Lee Health, sexually assaulted her while she was a

 patient in Defendant Lee Health’s hospital. As part of discovery in this case, Defendant Lee

 Health has attempted to obtain discovery of Plaintiff’s Facebook postings. Defendant Lee Health

 was, through its own means, able to obtain limited pages from Plaintiff’s Facebook account

 which are directly relevant to a central issue of this case – what happened on July 17, 2016 while




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 Plaintiff was a patient in the hospital1. Plaintiff has failed to produce any Facebook documents

 and has given contradictory accounts as to the reasons she cannot provide the information. The

 relevant chronology of events is as follows:

 October 2017          Plaintiff claims her Facebook account was deactivated at this time.

 March 26, 2018        Plaintiff sent an email to her therapist indicating that her brother had
                       created a GoFundMe account, and Goines was considering posting it on
                       her Facebook account.

 April or May 2018     Plaintiff becomes reacquainted with Todd Patrick via Facebook.

 April 23, 2018        Plaintiff provides discovery responses in which she claimed her
                       Facebook account had been deactivated back in October 2017 and she
                       could not retrieve its contents.

 May 16, 2018          Plaintiff provides supplemental interrogatory answers advising that “I
                       do not have access to my former Facebook account as it has been
                       deleted, I have attempted to gain access to it however I am unable to
                       retrieve any of the information, posts, or photographs.”

 June 2018             Plaintiff admitted at her deposition that she had reactivated her
                       Facebook account sometime in 2018 for “a couple of weeks.” She
                       admitted she never tried to access her Facebook account in order to
                       search for documents and information responsive to Defendant Lee
                       Health’s discovery requests (which is in direct contradiction to her
                       interrogatory response from the previous month).

 August 13, 2018       Ryan Fogg, Plaintiff’s attorney, represented in a letter to the
                       undersigned that “The fact of the matter is that in effort to comply with
                       the discovery rules, my office attempted to access Ms. Goines’
                       Facebook account after your request for production was received. We
                       were unable to access any material because the account had been
                       deleted.”

 September 5, 2018     Todd Patrick is deposed and testifies that he became reacquainted with
                       Plaintiff through Facebook in either April or May 2018 (this is the first
                       time Defendant Lee Health learned this information).

 September 2018        Ryan Fogg, Plaintiff’s attorney, stated during a telephone call that he
                       knows for a fact that Plaintiff’s Facebook account is not accessible
                       because his office obtained Plaintiff’s log on and password information,

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  Defendant Lee Health obtained these limited Facebook postings back in 2016, prior to the date
 Ms. Goines filed her lawsuit. Defendant Lee Health did not obtain all of the posts from this time
 period as it intended to obtain the remaining documents during the discovery process.


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                         and tried to find her Facebook account, but they were unable to do so
                         because it no longer exists.

 December 11, 2018       Defendant Lee Health files its Amended Motion for Spoliation
                         Sanctions.

 December 22, 2018       Plaintiff files her response to Defendant Lee Health’s Amended Motion
                         for Spoliation Sanctions stating “Second, LEE never requested that
                         GOINES reactivate her account to specifically confirm that none of the
                         posts existed. Nonetheless, GOINES’ counsel attempted to do so.”

 February 4, 2019        An anonymous letter regarding the Facebook spoliation issue was
                         mailed to counsel for Defendant Lee Health and Defendant
                         Hechavarria2.

 February 12, 2019       The Court received a letter containing information regarding the
                         Facebook spoliation issue.

           The allegations raised in the February letters, along with Plaintiff’s inconsistent and

 contradictory testimony provided during discovery in this case, raise multiple issues warranting

 an evidentiary hearing.

     II.      MEMORANDUM OF LAW

           The Court has the authority to hold an evidentiary hearing when there is a dispute of fact

 that requires resolution. “An evidentiary hearing is generally only required where there is a

 disputed issue of material fact. See, e.g., All Care Nursing Serv., Inc. v. Bethesda Mem'l Hosp.,

 Inc., 887 F.2d 1535, 1538 (11th Cir. 1989) (“Where the injunction turns on the resolution of

 bitterly disputed facts, ... an evidentiary hearing is normally required to decide creditability

 issues.”); United States v. Poe, 462 F.2d 195, 197 (5th Cir. 1972)3 (finding, in the criminal

 context, that if the allegations are sufficient to establish a claim “and factual issues are raised,

 a hearing is required.”); Bischoff v. Osceola County, Fla., 222 F.3d 874, 882 (11th Cir. 2000)

 (concluding that for issues of standing, an evidentiary hearing is required where there are facts in


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  Defendant Lee Health is prepared to provide the Court with a copy of the anonymous letter as
 instructed by the Court either at the evidentiary hearing or for in camera review.


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 dispute and credibility issues to be determined).” Stok Folk + Kon, P.A. v. Fusion Homes, LLC,

 584 B.R. 376, 381 (S.D. Fla. 2018).

         In this case, there are significant issues of fact that requires resolution at this stage of the

 litigation. First, the question of whether and when Plaintiff deactivated and/or deleted her

 Facebook account is an issue of substantial importance to this litigation. Plaintiff’s actions may

 amount to spoliation of evidence which is a serious matter that may warrant sanctions as

 explained in Defendant Lee Health’s Amended Motion for Spoliation Sanctions. The recent

 letters received in this case raise issues of fact directly related to the question of spoliation which

 must be considered by the Court in ruling on the Amended Motion for Spoliation Sanctions.

 Second, if the assertions made in the recent correspondence are true, additional sanctions and

 actions would be appropriate.

         The Court cannot accurately access the veracity of the statements made in the

 correspondence or the issues presented in the Amended Motion for Spoliation Sanctions without

 an evidentiary hearing.      The specific information which must be determined by the Court

 include:

         •    Plaintiff’s specific actions in accessing her account in April or May 2018

         •    The specific steps Plaintiff took to deactivate and/or delete her account

         •    The date Plaintiff deactivated and/or deleted her account

         •    The specific steps taken by Plaintiff to preserve evidence

         •    The specific steps taken by Plaintiff to comply with discovery requests

         •    The specific steps taken by her attorney and his law firm to access Plaintiff’s

              Facebook account

         •    Whether the allegations raised in the recent correspondence are true



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 All of these facts are critical and need to be explored so that the Court can rule on the pending

 Motion and address the recent issues.

         These issues are extremely significant in this litigation and should not become

 overshadowed by the unusual format by which the recent information was received. While

 Plaintiff’s counsel has not provided any explanation to the Court regarding the allegations raised

 in the letter received by the Court, they have indicated to the undersigned that they believe the

 letter received by the Court was written by a former employee of their law firm (Bryce Ritchie)

 and that she has engaged in similar behavior in the past. Defendant Lee Health is unable to

 assess the veracity of this information or the information contained in the letters. However, the

 manner in which the letters were sent and the belief of opposing counsel as to the motivation for

 the letters are not important and should not distract from the matter at hand. The important issue

 is not the source of the information but rather whether the information is true. There are a

 number of issues raised in the letters and inconsistencies in the record that warrant further fact

 finding. For example, Goines’s attorneys admit that they had access to Goines’s Facebook

 account and attempted to access it. The steps taken in this regard and the specific information

 uncovered needs to be resolved, and the only way to do so is through an evidentiary hearing. As

 a further example, Goines claimed in her interrogatory answers that she attempted to access her

 Facebook account to look for discoverable information, but was unable to do so; inexplicably,

 however, she then testified that she has never tried to access her Facebook account as part of

 responding to discovery in this case. Given that Goines had an obligation under the discovery

 rules to make reasonable efforts to access the information, the contradiction between her

 interrogatory answers and deposition testimony needs to be resolved. Likewise, the specific acts

 taken by Goines’s counsel to access her account also need to be resolved, not only to ascertain




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 whether there were discovery violations but also to assess the credibility of the recent

 information.

         Counsel’s explanation as to the source of the recent information does not make the

 information untrue, especially when certain other facts are consistent with that information. The

 underlying truth can only be uncovered through an evidentiary hearing in which Ms. Goines, Mr.

 Fogg, Ms. Hill and Ms. Ritchie are subpoenaed to appear and provide testimony.              Absent

 discovery and evidence on this issue, Defendants will be unfairly prejudiced and the Court will

 be unable to make an informed ruling on the pending Amended Motion for Spoliation Sanctions.

         Based on the foregoing, Defendant Lee Health asks this Court to enter an Order

 scheduling an evidentiary hearing, and issue subpoenas requiring Ms. Goines, Mr. Fogg, Ms.

 Hill and Ms. Ritchie to provide testimony at the hearing.

         Alternatively, if this Court does not rule that an evidentiary hearing is warranted in these

 circumstances, Defendant Lee Health requests the Court to re-open discovery on this specific

 issue and allow Defendant Lee Health to take the depositions of Ms. Goines, Mr. Fogg, Ms. Hill

 and Ms. Ritchie on this issue.

                                  CERTIFICATE OF GOOD FAITH

         Counsel for Defendant Lee Health has reached out to counsel for Plaintiff in a good faith

 effort to see if he opposes the relief requested herein. Counsel for Plaintiff stated that he

 anticipates sending a response to the sealed document filed by the Court and if the Court feels it

 is necessary to have an evidentiary hearing after reviewing the response, Counsel for Plaintiff is

 in agreement. Counsel for Defendant spoke to Defendant Hechavarria who agrees to the relief

 requested.

                               /s/Angelique Groza Lyons
                               Angelique Groza Lyons, Esq., Fla. Bar No. 118801



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                              Attorneys for Defendant Lee Health

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 22nd day of February, 2019, a true and correct copy of
 the foregoing was filed with the Clerk of Court using the CM/ECF System, which will send an
 electronic notice of filing to, or was otherwise served via email on, the following:

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                                             /s/Angelique Groza Lyons
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